                --   -----------------------~--------.




   10:         u"' /./- eo 51--t:t--les. 13an1:..y-uplc.c;                                   Cou.£'f
                '-/oo N J11a /11 l<oo m ;;i tp 3
                8 u lie 11,,.,r 59 7CJ/
                                   I




Feo111          Jerry                   cf-     Ja YI              f/c:r II
                     C/O He!L-6v1 B4n..t.:.                                  ;2-D
                     br ff-'eti Fq lf 5,, /P1-f                                  5£/ i/t.Yl-
                       JCt v1 vi; Iott@               V10-f1V1Q,/,               {6W\



~    '.    stioo+                       Y~- M ()()Vf                  6~11.e..yt,ffJl-CL/
               r::/t tb                 16 · ~ I-JS                    71- 15 -         0oq 'I Cf~ 131<'...


           'J/1ete            Q re_             3        prub)e In>                   LA.I)' f-{r,       ~-he_      b t2fl/c   Vuflfcy
           fr 't /Vlt                  C DYJ ( C'rY71h9             Ot,f,    r      C[cu1rvr .'
          I.    'l-t1 e. co1re c-f /17 a es sh ovr_ r!J J8 c._ :     rl'I-


                   Jer vet ~ J0t >1 /-f4 I)
          ::< · (f) ur a.. ad.ye S'S .'
                             9C>              fl-~11          f3t.t ~t:_            /2-D
                             <Dr i!tA f             )..:.&_,[( S
                                                               J
                                                                       J1/1 T          5   q '-i (j lj
          3·          '1 /,.,e__         l~ mouvrf                 c> -f         Yk         Cf41m                5hoL{ t J)
                           b E_           di 31'~ detJ. Do




                         2:15-bk-60979-WLH Doc#: 27 Filed: 10/28/15 Page 1 of 1
